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                                                                     Colin P. Ahler (#023879)
                                                                 2   Derek C. Flint (#034392)
                                                                     Ian R. Joyce (#035806)
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                                                                12
                                                                     Attorneys for Defendant Douglas A. Ducey,
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                      Phoenix, Arizona 85004-2202




                                                                13   Governor of the State of Arizona
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                                                                14
                                   L.L.P.




                                                                                               UNITED STATES DISTRICT COURT
                                                                15
                                                                                                    DISTRICT OF ARIZONA
                                                                16
                                                                17
                                                                     Tyler Bowyer, et al.,
                                                                18                                                 No. 2:20-cv-02321-DJH
                                                                                      Plaintiffs,
                                                                19                                                 Governor Ducey’s Objections to
                                                                            v.                                     Plaintiffs’ Exhibit and Witness List for
                                                                20                                                 December 10 Hearing
                                                                     Doug Ducey, et al.,
                                                                21
                                                                                      Defendants,                  Assigned to: Hon. Diane Humetewa
                                                                22
                                                                            and                                    TRO Hearing Set: December 10, 2020 at
                                                                23                                                 9:30 a.m.
                                                                     Maricopa County Board of Supervisors, et
                                                                24   al.,
                                                                25                    Intervenor-Defendants
                                                                26
                                                                27
                                                                28
                                                                 1           In accordance with the Court’s December 4, 2020 Order, (Doc. 35), Defendant
                                                                 2   Douglas A. Ducey, Governor of the State of Arizona submits the following objections to
                                                                 3   Plaintiffs’ witness and exhibit lists. In addition to the objections specifically stated below,
                                                                 4   the Governor also joins in the objections made by Defendant Secretary of State Hobbs and
                                                                 5   the Maricopa County Intervenor-Defendants.
                                                                 6                                  Objections to Plaintiffs’ Witnesses
                                                                 7           As a preliminary matter, the Governor objects to Plaintiffs’ use of declarations for
                                                                 8   witnesses to the extent that any such witnesses made available for cross examination. The
                                                                 9   Governor also objects to the sheer number of witnesses proposed by Plaintiffs, given the
                                                                10   limited amount of hearing time.
                                                                11
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                                                                12              Proposed Witness                Objection(s)
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                                                                13      1.      William Briggs, expert         Objection. Mr. Briggs does not meet the
                                                                                                               qualifications required of an expert witness
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                                                                14
                                                                                                               under Fed. R. Evid. 702. See Daubert v.
                                   L.L.P.




                                                                15                                             Merrell Dow Pharms., 509 U.S. 579 (1993).

                                                                16                                             Further, the Governor objects to the substance
                                                                                                               of Mr. Briggs’ expert report on the grounds
                                                                17                                             that it was not produced using reliable
                                                                                                               methods. Daubert, 509 U.S. at 590, 600
                                                                18
                                                                                                               (1993).
                                                                19      2.      Brian Teasley, expert          Objection. Mr. Teasley does not meet the
                                                                20                                             qualifications required of an expert witness
                                                                                                               under Fed. R. Evid. 702. See Daubert v.
                                                                21                                             Merrell Dow Pharms., 509 U.S. 579 (1993).
                                                                22                                             Further, the Governor objects to the substance
                                                                                                               of Mr. Teasley’s expert report on the grounds
                                                                23
                                                                                                               that it was not produced using reliable
                                                                24                                             methods. Daubert, 509 U.S. at 590, 600
                                                                                                               (1993).
                                                                25
                                                                        3.      Russell James Ramsland,        Objection. Mr. Ramsland does not meet the
                                                                26              Jr., expert                    qualifications required of an expert witness
                                                                                                               under Fed. R. Evid. 702. See Daubert v.
                                                                27
                                                                                                               Merrell Dow Pharms., 509 U.S. 579 (1993).
                                                                28

                                                                                                                 -1-
                                                                 1
                                                                                                     Further, the Governor objects to the substance
                                                                 2                                   of Mr. Ramsland’s expert report on the
                                                                                                     grounds that it was not produced using
                                                                 3
                                                                                                     reliable methods. Daubert, 509 U.S. at 590,
                                                                 4                                   600 (1993).
                                                                 5   4.   Spider, expert             Objection. This witness was not properly
                                                                                                     disclosed under the Court’s December 4, 2020
                                                                 6                                   Order requiring Plaintiffs to provide a “full
                                                                                                     and complete witness” disclosure. (Doc. 35).
                                                                 7
                                                                                                     Plaintiffs have not fulfilled this requirement
                                                                 8                                   for “Spider” because they have redacted all
                                                                                                     identifying information for this witness, thus
                                                                 9                                   prejudicing Defendants’ ability to prepare for
                                                                10                                   the December 10 hearing.

                                                                11                                   Further, “Spider” does not meet the
                                                                                                     qualifications required of an expert witness
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                                                                12                                   under Fed. R. Evid. 702. See Daubert v.
                                                                                                     Merrell Dow Pharms., 509 U.S. 579 (1993).
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                                                                13
                                                                                                     Further, the Governor objects to the substance
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                                                                14                                   of “Spider’s” expert report on the grounds
                                   L.L.P.




                                                                15                                   that it was not produced using reliable
                                                                                                     methods. Daubert, 509 U.S. at 590, 600
                                                                16                                   (1993).
                                                                17                                   The Governor also objects to “Spider’s”
                                                                                                     declaration on the ground that it contains
                                                                18                                   material outside of “Spider’s” personal
                                                                19                                   knowledge and lacking foundation. Fed. R.
                                                                                                     Evid. 602.
                                                                20
                                                                     5.   Matthew Bromberg, expert   Objection. Mr. Bromberg does not meet the
                                                                21                                   qualifications required of an expert witness
                                                                                                     under Fed. R. Evid. 702. See Daubert v.
                                                                22                                   Merrell Dow Pharms., 509 U.S. 579 (1993).
                                                                23                                   Further, the Governor objects to the substance
                                                                24                                   of Mr. Bomberg’s expert report on the
                                                                                                     grounds that it was not produced using
                                                                25                                   reliable methods. Daubert, 509 U.S. at 590,
                                                                                                     600 (1993).
                                                                26
                                                                     6.   Phillip Waldron, expert    Objection. Mr. Waldron does not meet the
                                                                27                                   qualifications required of an expert witness
                                                                28                                   under Fed. R. Evid. 702. See Daubert v.


                                                                                                      -2-
                                                                 1                                       Merrell Dow Pharms., 509 U.S. 579 (1993).
                                                                 2                                       Further, the Governor objects to the substance
                                                                                                         of Mr. Waldron’s expert report on the grounds
                                                                 3
                                                                                                         that it was not produced using reliable
                                                                 4                                       methods. Daubert, 509 U.S. at 590, 600
                                                                                                         (1993).
                                                                 5                                       Subject to this witness being made available
                                                                     7.    Anna Orth
                                                                 6                                       for cross-examination and the other
                                                                                                         Defendants’ objections, the Governor has no
                                                                 7                                       additional objections.
                                                                 8   8.    Janese Bryant                 Subject to this witness being made available
                                                                                                         for cross-examination and the other
                                                                 9                                       Defendants’ objections, the Governor has no
                                                                10                                       additional objections.

                                                                11   9.    Greg Wodynski, by             Subject to this witness being made available
                                                                           declaration                   for cross-examination and the other
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                                                                12                                       Defendants’ objections, the Governor does
                                                                                                         not object to Mr. Wodynski’s declaration
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                                                                13
                                                                                                         being offered as direct testimony, and the
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                                                                                                         Court deciding what weight (if any) to give
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                                                                14
                                   L.L.P.




                                                                                                         the hearsay statements therein.
                                                                15
                                                                     10.   Les Minkas                    Objection. Mr. Minkas’ testimony was not
                                                                16                                       properly disclosed under the Court’s
                                                                                                         December 4, 2020 Order requiring Plaintiffs
                                                                17
                                                                                                         to provide a “full and complete witness”
                                                                18                                       disclosure, (Doc. 35), because Plaintiffs have
                                                                                                         not provided any information regarding Mr.
                                                                19                                       Minkas’ expected testimony.
                                                                20   11.   Diane Serra, by declaration   Subject to this witness being made available
                                                                21                                       for cross-examination and the other
                                                                                                         Defendants’ objections, the Governor does
                                                                22                                       not object to Ms. Serra’s declaration being
                                                                                                         offered as direct testimony, and the Court
                                                                23                                       deciding what weight (if any) to give the
                                                                24                                       hearsay statements therein.

                                                                25   12.   Judith Burns, by              Subject to this witness being made available
                                                                           declaration                   for cross-examination and the other
                                                                26                                       Defendants’ objections, the Governor does
                                                                                                         not object to Ms. Burns’ declaration being
                                                                27
                                                                                                         offered as direct testimony, and the Court
                                                                28                                       deciding what weight (if any) to give the


                                                                                                          -3-
                                                                 1                                    hearsay statements therein.
                                                                 2
                                                                     13.   Kathleen Alvey             Subject to this witness being made available
                                                                 3                                    for cross-examination and the other
                                                                                                      Defendants’ objections, the Governor has no
                                                                 4
                                                                                                      additional objections.
                                                                 5                                    Subject to this witness being made available
                                                                     14.   Linda Brickman, by
                                                                                                      for cross-examination and the other
                                                                 6         declaration
                                                                                                      Defendants’ objections, the Governor does
                                                                 7                                    not object to Ms. Brickman’s declaration
                                                                                                      being offered as direct testimony, and the
                                                                 8                                    Court deciding what weight (if any) to give
                                                                                                      the hearsay statements therein.
                                                                 9
                                                                10                                    Subject to this witness being made available
                                                                     15.   Mark Low, by declaration
                                                                11                                    for cross-examination and the other
                                                                                                      Defendants’ objections, the Governor does
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                                                                12                                    not object to Mr. Low’s declaration being
                                                                                                      offered as direct testimony, and the Court
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                                                                13
                                                                                                      deciding what weight (if any) to give the
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                                                                14                                    hearsay statements therein.
                                   L.L.P.




                                                                15                                    Objection.
                                                                     16.   Redacted Fact Witness
                                                                16         “TM,” by declaration
                                                                                                      This witness was not properly disclosed under
                                                                17                                    the Court’s December 4, 2020 Order
                                                                18                                    requiring Plaintiffs to provide a “full and
                                                                                                      complete witness” disclosure. (Doc. 35).
                                                                19                                    Plaintiffs have not fulfilled this requirement
                                                                                                      for “TM” because they have redacted all
                                                                20                                    identifying information for this witness.
                                                                21
                                                                                                      The Governor further objects to “TM”’s
                                                                22                                    declaration because it contains unqualified
                                                                23                                    expert opinions regarding vote tabulation
                                                                                                      machines and vote allocation patterns
                                                                24                                    unsupported by any expert disclosure or
                                                                                                      report. Fed. R. Evid. 702; See Daubert v.
                                                                25                                    Merrell Dow Pharms., 516 U.S. 869 (1993).
                                                                26
                                                                                                      The Governor also objects to “TM”’s
                                                                27                                    declaration on the ground that it contains
                                                                                                      material outside of “TM”’s personal
                                                                28

                                                                                                       -4-
                                                                 1                                  knowledge and lacking foundation. Fed. R.
                                                                 2                                  Evid. 602. Because Plaintiffs have not
                                                                                                    disclosed the identity of the declarant, this
                                                                 3                                  declaration also has not been authenticated by
                                                                                                    any witness. Fed. R. Evid. 901.
                                                                 4
                                                                 5                                  Objection. Senator Townsend’s testimony
                                                                     17.   Senator Kelly Townsend
                                                                                                    was not properly disclosed under the Court’s
                                                                 6                                  December 4, 2020 Order requiring Plaintiffs
                                                                 7                                  to provide a “full and complete witness”
                                                                                                    disclosure, (Doc. 35), because Plaintiffs
                                                                 8                                  simply provide a generic statement that
                                                                                                    Senator Townsend’s testimony will be
                                                                 9                                  comprised of “information related to election
                                                                10                                  violations.”

                                                                11                                  Objection.
                                                                     18.   “Redacted-Venezuela
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                                                                12         Smartmatic Affidavit
                                                                                                    This witness was not properly disclosed under
                                                                           11.1116.20202,” by
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                                                                13                                  the Court’s December 4, 2020 Order
                                                                           affidavit
                                                                                                    requiring Plaintiffs to provide a “full and
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                                                                14                                  complete witness” disclosure. (Doc. 35).
                                   L.L.P.




                                                                15                                  Plaintiffs have not fulfilled this requirement
                                                                                                    for “Redacted-Venzuela Smartmatic Affidavit
                                                                16                                  11.116.2020” because they have redacted all
                                                                17                                  identifying information for this witness.

                                                                18                                  The Governor further objects to “Redacted-
                                                                                                    Venzuela Smartmatic Affidavit 11.116.2020”
                                                                19                                  declaration to the extent it contains
                                                                20                                  unqualified expert opinions. Fed. R. Evid.
                                                                                                    702; See Daubert v. Merrell Dow Pharms.,
                                                                21                                  516 U.S. 869 (1993).
                                                                22
                                                                                                    The Governor also objects to the “Redacted”
                                                                23                                  individual’s declaration on the ground that it
                                                                                                    contains material outside of the individual’s
                                                                24                                  personal knowledge and lacking foundation.
                                                                25                                  Fed. R. Evid. 602. Because Plaintiffs have not
                                                                                                    disclosed the identity of the declarant, this
                                                                26                                  declaration also has not been authenticated by
                                                                                                    any witness. Fed. R. Evid. 901.
                                                                27
                                                                28

                                                                                                     -5-
                                                                 1                                 Subject to this witness being made available
                                                                     19.   Joe Oltmann, by
                                                                 2                                 for cross-examination and the other
                                                                           declaration
                                                                                                   Defendants’ objections, the Governor does
                                                                 3                                 not object to Mr. Oltmann’s declaration being
                                                                                                   offered as direct testimony, and the Court
                                                                 4                                 deciding what weight (if any) to give the
                                                                 5                                 hearsay statements therein.

                                                                 6                                 Subject to this witness being made available
                                                                     20.   Anna Mercedes Diaz
                                                                 7                                 for cross-examination and the other
                                                                           Cardozo, by affidavit
                                                                                                   Defendants’ objections, the Governor does
                                                                 8                                 not object to Ms. Diaz’s affidavit being
                                                                                                   offered as direct testimony, and the Court
                                                                 9                                 deciding what weight (if any) to give the
                                                                10                                 hearsay statements therein.

                                                                11                                 Objection. This alleged declaration is not
                                                                     21.   Ronald Watkins, by
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                                                                12                                 signed by Mr. Watkins and thus cannot be
                                                                           declaration
                                                                                                   authenticated. Fed. R. Evid. 901; see also 28
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                                                                13                                 U.S.C. § 1746. The declaration also contains
                                                                                                   unqualified expert opinions on computer
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                                                                14                                 security unsupported by any expert disclosure
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                                                                15                                 or report. Fed. R. Evid. 702. Further, the
                                                                                                   material contained in the declaration is
                                                                16                                 outside of the author’s personal knowledge.
                                                                17                                 Fed. R. Evid. 602.
                                                                                                   Objection. This witness was not properly
                                                                     22.   “Jane Doe”
                                                                18                                 disclosed under the Court’s December 4,
                                                                                                   2020 Order requiring Plaintiffs to provide a
                                                                19                                 “full and complete witness” disclosure. (Doc.
                                                                20                                 35). Plaintiffs have not fulfilled this
                                                                                                   requirement for “Jane Doe” because they
                                                                21                                 have redacted all identifying information for
                                                                22                                 this witness.

                                                                23                                 No objection.
                                                                     23.   Ryan Hartwig
                                                                24
                                                                25
                                                                26
                                                                27
                                                                28

                                                                                                    -6-
                                                                 1                                  Objections to Plaintiffs’ Exhibits
                                                                 2
                                                                                 Exhibit Description                          Objection(s)
                                                                 3
                                                                         1.   “Dr. Briggs”                Objection.
                                                                 4
                                                                 5                                        This exhibit was not properly disclosed under the
                                                                                                          Court’s December 4, 2020 Order requiring
                                                                 6                                        Plaintiffs to disclose and exchange exhibits. (Doc.
                                                                 7                                        35). Plaintiffs’ vague reference to “Dr. Briggs”
                                                                                                          does not reasonably identify any document and, for
                                                                 8                                        their court-ordered disclosure, Plaintiffs only
                                                                 9                                        produced a document titled “BRIGGS
                                                                                                          REBUTTAL IN MI,” which did not have any
                                                                10                                        attachments. As a result, the Governor is left to
                                                                                                          guess what document Plaintiffs’ disclosure
                                                                11                                        references. Because of the vague nature of this
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                                                                12                                        disclosure, the Governor reserves the right to make
                                                                                                          renewed objections to the “Dr. Briggs” exhibit,
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                                                                13                                        should Plaintiffs seek to admit it at the December
                                                                                                          10 Hearing.
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                                                                14
                                   L.L.P.




                                                                15                                        With that caveat, it appears Plaintiffs are
                                                                                                          referencing Exhibit 2 to the Complaint and the
                                                                16                                        attachments thereto (“Exhibits 2A-F”). (See Doc.
                                                                17                                        1-2 at 14-50). To the extent this is the document
                                                                                                          Plaintiffs are referencing, the Governor objects
                                                                18                                        because the document contains unqualified expert
                                                                                                          opinions regarding vote tabulation machines
                                                                19
                                                                                                          unsupported by any expert disclosure or report.
                                                                20                                        Fed. R. Evid. 702. The Governor further objects
                                                                                                          because neither the report nor the attachments can
                                                                21                                        be authenticated by any disclosed witness. Fed. R.
                                                                22                                        Evid. 901. The Governor further objects because
                                                                                                          the survey data discussed in the report (and the
                                                                23                                        above-referenced rebuttal report from a Michigan
                                                                                                          proceeding) is irrelevant to this proceeding. Fed. R.
                                                                24
                                                                                                          Evid. 401. Finally, the Governor objects because
                                                                25                                        the report contains hearsay evidence, including but
                                                                                                          not limited to survey data. Fed. R. Evid. 801.1
                                                                26
                                                                     1
                                                                27     The Governor acknowledges that hearsay evidence is sometimes admissible in preliminary
                                                                     injunction proceedings. Flynt Distrib. Co. v. Harvey, 734 F.2d 1389, 1394 (9th Cir. 1984).
                                                                28

                                                                                                              -7-
                                                                 1
                                                                 2   2.   “Brian Teasley”      Objection.
                                                                 3
                                                                                               This exhibit was not properly disclosed under the
                                                                 4                             Court’s December 4, 2020 Order requiring
                                                                                               Plaintiffs to disclose and exchange exhibits. (Doc.
                                                                 5                             35). Plaintiffs’ vague reference to “Brian Teasley”
                                                                 6                             does not reasonably identify any document—and
                                                                                               Plaintiffs did not produce any document titled
                                                                 7                             “Brian Teasley” to the Governor. As a result, the
                                                                 8                             Governor is left to guess what document this
                                                                                               disclosure references. Because of the vague nature
                                                                 9                             of this disclosure, the Governor reserves the right
                                                                                               to make renewed objections to the “Brian Teasley”
                                                                10                             exhibit, should Plaintiffs seek to admit it at the
                                                                11                             December 10 Hearing.
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                                                                12                             With that caveat, the Governor assumes that the
                                                                                               disclosure is referencing a document titled
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                                                                13
                                                                                               “Teasley CV-Bio.” If this is correct, then the
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                                                                14                             Governor has no objection to the admission of
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                                                                                               “Teasley CV-Bio.”
                                                                15
                                                                16   3.   “Ramsland”           Objection.

                                                                17                             This exhibit was not properly disclosed under the
                                                                18                             Court’s December 4, 2020 Order requiring
                                                                                               Plaintiffs to disclose and exchange exhibits. (Doc.
                                                                19                             35). Plaintiffs’ vague reference to “Ramsland”
                                                                                               does not reasonably identify any document—and
                                                                20                             Plaintiffs did not produce any document titled
                                                                21                             “Ramsland” to the Governor. As a result, the
                                                                                               Governor is left to guess what document this
                                                                22                             disclosure references. Because of the vague nature
                                                                                               of this disclosure, the Governor reserves the right
                                                                23
                                                                                               to make renewed objections to the “Ramsland”
                                                                24                             exhibit, should Plaintiffs seek to admit it at the
                                                                                               December 10 Hearing.
                                                                25
                                                                26   4.   “Spider Sources, 3   Objection.
                                                                          documents”
                                                                27                             This exhibit was not properly disclosed under the
                                                                                               Court’s December 4, 2020 Order requiring
                                                                28

                                                                                                   -8-
                                                                 1                         Plaintiffs to disclose and exchange exhibits. (Doc.
                                                                 2                         35). Plaintiffs’ vague reference to “Spider Sources,
                                                                                           3 documents” does not reasonably identify any
                                                                 3                         document—and Plaintiffs did not produce any
                                                                                           document titled “Spider Sources, 3 documents” to
                                                                 4                         the Governor. As a result, the Governor is left to
                                                                 5                         guess what documents this disclosure references.
                                                                                           Because of the vague nature of this disclosure, the
                                                                 6                         Governor reserves the right to make renewed
                                                                 7                         objections to the “Spider Sources, 3 documents”
                                                                                           exhibit, should Plaintiffs seek to admit it at the
                                                                 8                         December 10 Hearing.
                                                                 9                         With that caveat, the Governor assumes that the
                                                                10                         disclosure is referencing pages 2, and 10-13 of a
                                                                                           produced .pdf titled “Exhibit 3 AZ.” The Governor
                                                                11                         objects to the inclusion of pages 2, 10-13 of
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                                                                                           “Exhibit 3 AZ” because those pages lack adequate
                                                                12
                                                                                           foundation. Fed. R. Evid. 901. There is no witness
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                                                                13                         with the personal knowledge necessary to testify
                                                                                           about the content of these pages. Fed. R. Evid.
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                                                                14                         602.
                                   L.L.P.




                                                                15
                                                                     5.   “Phil Waldron”   Objection.
                                                                16
                                                                                           This exhibit was not properly disclosed under the
                                                                17
                                                                                           Court’s December 4, 2020 Order requiring
                                                                18                         Plaintiffs to disclose and exchange exhibits. (Doc.
                                                                                           35). Plaintiffs’ vague reference to “Phil Waldron”
                                                                19                         does not reasonably identify any document—and
                                                                20                         Plaintiffs did not produce any document titled
                                                                                           “Phil Waldron” to the Governor. As a result, the
                                                                21                         Governor is left to guess what document this
                                                                                           disclosure references. Because of the vague nature
                                                                22
                                                                                           of this disclosure, the Governor reserves the right
                                                                23                         to make renewed objections to the “Phil Waldron”
                                                                                           exhibit, should Plaintiffs seek to admit it at the
                                                                24                         December 10 Hearing.
                                                                25
                                                                26
                                                                27
                                                                28

                                                                                               -9-
                                                                 1                          Objections to Plaintiffs’ Complaint Exhibits
                                                                 2            The following is a list of exhibits attached to Plaintiffs’ Complaint. Many of these
                                                                 3   exhibits were not listed in Plaintiffs’ initial exhibit disclosures, while other exhibits (e.g.,
                                                                 4   the witness declarations) were cross-referenced in Plaintiffs’ witness list. Given the vague
                                                                 5   nature of Plaintiffs’ disclosure, the Governor provides objections to these exhibits only in
                                                                 6   an abundance of caution. However, the Governor objects to the inclusion of any exhibit and
                                                                 7   witness not specifically listed in Plaintiffs’ initial witness and exhibit disclosure, on the
                                                                 8   grounds that such exhibits were not properly disclosed pursuant to this Court’s December
                                                                 9   4, 2020 Order. (See Doc. 35.)
                                                                10
                                                                       Ex.          Complaint Exhibit                            Objection(s)
                                                                11     #
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                                                                12                                           Objection. Document contains unqualified expert
                                                                         1.     Redacted-Venezuela           opinions. Fed. R. Evid. 702. Document cannot be
                                                                                Smartmatic Affidavit
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                                                                13              11.116.2020                  authenticated, Fed. R. Evid. 901, and there is no
                                                                                                             witness with the personal knowledge necessary to
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                                                                14                                           testify about the content of these pages. Fed. R.
                                   L.L.P.




                                                                15                                           Evid. 602. The Governor further objects to the
                                                                                                             admission of this document because there are no
                                                                16                                           legitimate grounds for redacting the information
                                                                17                                           contained therein. See Fed. R. Evid. 106.

                                                                18                                           .
                                                                19      2.      Absentee Survey Analysis Objection.
                                                                                – Briggs Rpt
                                                                20
                                                                                                         Document contains unqualified expert opinions
                                                                21                                       regarding vote tabulation machines unsupported by
                                                                22                                       any expert disclosure or report. Fed. R. Evid. 702.
                                                                                                         Document is also irrelevant to this proceeding.
                                                                23                                       Fed. R. Evid. 401. Document contains hearsay
                                                                                                         evidence, including but not limited to survey data.
                                                                24                                       Fed. R. Evid. 802.
                                                                25
                                                                                                             Further, this exhibit was not properly disclosed
                                                                26                                           under the Court’s December 4, 2020 Order
                                                                                                             requiring Plaintiffs to disclose and exchange
                                                                27
                                                                                                             exhibits. (Doc. 35).
                                                                28

                                                                                                                 - 10 -
                                                                 1        Absentee Survey           Objection.
                                                                     2A   Wisconsin Analysis-Briggs
                                                                 2        Rpt. Re Attachment AZ
                                                                                                    Document contains unqualified expert opinions
                                                                 3                                  regarding vote tabulation machines unsupported by
                                                                                                    any expert disclosure or report. Fed. R. Evid. 702.
                                                                 4                                  Document is also irrelevant to this proceeding.
                                                                 5                                  Fed. R. Evid. 401. Document contains hearsay
                                                                                                    evidence not subject to any exception, including
                                                                 6                                  but not limited to survey data. Fed. R. Evid. 802.
                                                                 7
                                                                                                     Further, this exhibit was not properly disclosed
                                                                 8                                   under the Court’s December 4, 2020 Order
                                                                                                     requiring Plaintiffs to disclose and exchange
                                                                 9                                   exhibits. (Doc. 35).
                                                                10
                                                                          Brigs– Attachment GA re Objection.
                                                                11        5 state Rpt. Absentee Live
                                                                     2B   ID Topline
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                                                                12                                   Document contains unqualified expert opinions
                                                                                                     regarding vote tabulation machines unsupported by
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                                                                13                                   any expert disclosure or report. Fed. R. Evid. 702.
                                                                                                     Document is also irrelevant to this proceeding.
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                                                                14                                   Fed. R. Evid. 401. Document contains hearsay
                                   L.L.P.




                                                                15                                   evidence, including but not limited to survey data.
                                                                                                     Fed. R. Evid. 802.
                                                                16
                                                                                                     Further, this exhibit was not properly disclosed
                                                                17
                                                                                                     under the Court’s December 4, 2020 Order
                                                                18                                   requiring Plaintiffs to disclose and exchange
                                                                                                     exhibits. (Doc. 35).
                                                                19
                                                                20        Brigs – attachment PA re Objection.
                                                                          5 state Rpt. Absentee Live
                                                                21        ID Topline
                                                                     2C                              Document contains unqualified expert opinions
                                                                                                     regarding vote tabulation machines unsupported by
                                                                22
                                                                                                     any expert disclosure or report. Fed. R. Evid. 702.
                                                                23                                   Document is also irrelevant to this proceeding.
                                                                                                     Fed. R. Evid. 401. Document contains hearsay
                                                                24                                   evidence, including but not limited to survey data.
                                                                25                                   Fed. R. Evid. 802.

                                                                26                                   Further, this exhibit was not properly disclosed
                                                                                                     under the Court’s December 4, 2020 Order
                                                                27
                                                                                                     requiring Plaintiffs to disclose and exchange
                                                                28                                   exhibits. (Doc. 35).

                                                                                                         - 11 -
                                                                 1
                                                                 2        Brigs – Attachment WI    Objection.
                                                                     2D   Unretruned Live Agent
                                                                 3        Topline
                                                                                                   Document contains unqualified expert opinions
                                                                 4                                 regarding vote tabulation machines unsupported by
                                                                                                   any expert disclosure or report. Fed. R. Evid. 702.
                                                                 5                                 Document is also irrelevant to this proceeding.
                                                                 6                                 Fed. R. Evid. 401. Document contains hearsay
                                                                                                   evidence, including but not limited to survey data.
                                                                 7                                 Fed. R. Evid. 802.
                                                                 8
                                                                                                   Further, this exhibit was not properly disclosed
                                                                 9                                 under the Court’s December 4, 2020 Order
                                                                                                   requiring Plaintiffs to disclose and exchange
                                                                10                                 exhibits. (Doc. 35).
                                                                11
                                                                          Briggs – Attachment MI   Objection.
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                                                                12   2E   Unreturned Live Agent
                                                                          topline
                                                                                                   Document contains unqualified expert opinions
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                                                                13
                                                                                                   regarding vote tabulation machines unsupported by
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                                                                14                                 any expert disclosure or report. Fed. R. Evid. 702.
                                   L.L.P.




                                                                                                   Document cannot be authenticated. Fed. R. Evid.
                                                                15                                 901. Document irrelevant to this proceeding. Fed.
                                                                16                                 R. Evid. 401. Document contains hearsay evidence,
                                                                                                   including but not limited to survey data. Fed. R.
                                                                17                                 Evid. 802.
                                                                18
                                                                                                   Further, this exhibit was not properly disclosed
                                                                19                                 under the Court’s December 4, 2020 Order
                                                                                                   requiring Plaintiffs to disclose and exchange
                                                                20                                 exhibits. (Doc. 35).
                                                                21
                                                                          Brigs CV                 No Objection. The Governor, however, does
                                                                22   2F                            maintain his prior objection that Mr. Briggs does
                                                                23                                 not meet the qualifications required of an expert
                                                                                                   witness under Fed. R. Evid. 702. See Daubert v.
                                                                24                                 Merrell Dow Pharms., 516 U.S. 869 (1993).
                                                                25   3.   Re Braynard              Objection. Document contains hearsay not subject
                                                                26                                 to any exceptions. Fed. R. Evid. 802. Document
                                                                                                   cannot be authenticated by any disclosed witness,
                                                                27                                 Fed. R. Evid. 901, and there is no witness with the
                                                                28                                 personal knowledge necessary to testify about the


                                                                                                      - 12 -
                                                                 1                                    content of these pages. Fed. R. Evid. 602.
                                                                 2
                                                                     4.   Redacted Expert affidavit   Objection. Document contains unqualified expert
                                                                 3        Statistician                opinions regarding vote tabulation machines and
                                                                                                      vote allocation patterns unsupported by any expert
                                                                 4                                    disclosure or report. Fed. R. Evid. 702. Document
                                                                 5                                    contains material outside of declarant’s knowledge.
                                                                                                      Fed. R. Evid. 602. Document cannot be
                                                                 6                                    authenticated by any disclosed witness, Fed. R.
                                                                 7                                    Evid. 901, and there is no witness with the personal
                                                                                                      knowledge necessary to testify about the content of
                                                                 8                                    these pages. Fed. R. Evid. 602.
                                                                 9   5.   Diana Serra Declaration (3 Objection. Document contains hearsay not subject
                                                                          sep pdfs for pages 1-3)    to any exceptions. Fed. R. Evid. 802.
                                                                10
                                                                11
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                                                                     6.   Joseph Oltmann Affidavit    Objection. Document contains hearsay not subject
                                                                12
                                                                                                      to any exceptions. Fed. R. Evid. 802. Document is
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                                                                13                                    irrelevant to the claims in this case. Fed. R. Evid.
                                                                                                      401. Admission of the document would be more
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                                                                14
                                                                                                      prejudicial than probative. Fed. R. Evid. 403.
                                   L.L.P.




                                                                15
                                                                     7.   Harri Hursti Declaration    Objection. Document contains hearsay not subject
                                                                16        Doc 809 US Dist Ct 3 8-     to any exceptions. Fed. R. Evid. 802. Document is
                                                                          24-20
                                                                17                                    irrelevant to the claims in this case. Fed. R. Evid.
                                                                                                      401. Document contains unqualified expert
                                                                18                                    opinions. Fed. R. Evid. 702. Document contains
                                                                                                      material outside of the declarant’s personal
                                                                19
                                                                                                      knowledge and lacking foundation. Fed. R. Evid.
                                                                20                                    602.

                                                                21                                 Further, this exhibit was not disclosed under the
                                                                22                                 Court’s December 4, 2020 Order requiring
                                                                                                   Plaintiffs to disclose and exchange exhibits. (Doc.
                                                                23                                 35). In addition, Plaintiffs did not include this
                                                                                                   individual in their witness disclosure.
                                                                24   8.   Affidavit of Anna        Objection. Document contains hearsay not subject
                                                                          Mercedes Diaz Cardozo in to any exceptions. Fed. R. Evid. 802. Document is
                                                                25        ENGLISH
                                                                                                   irrelevant to the claims in this case. Fed. R. Evid.
                                                                26                                 401. Admission of the document would be more
                                                                27                                 prejudicial than probative. Fed. R. Evid. 403.
                                                                                                   Document contains unqualified expert opinions.
                                                                28                                 Fed. R. Evid. 702. Document contains material

                                                                                                         - 13 -
                                                                 1                                    outside of the affiant’s personal knowledge. Fed. R.
                                                                 2                                    Evid. 602. Document cannot be authenticated by
                                                                                                      any disclosed witness, Fed. R. Evid. 901, and there
                                                                 3                                    is no witness with the personal knowledge
                                                                                                      necessary to testify about the content of these
                                                                 4                                    pages. Fed. R. Evid. 602.
                                                                 5
                                                                     9.    Keshel Expert Affidavit     Objection. Document contains unqualified expert
                                                                 6                                     opinions purporting show a statistical analysis of
                                                                 7                                     voting patterns in Arizona, unsupported by any
                                                                                                       expert disclosure or report. Fed. R. Evid. 702.
                                                                 8                                     Document contains material outside of affiant’s
                                                                                                       personal knowledge. Fed. R. Evid. 602. Document
                                                                 9                                     cannot be authenticated by any disclosed witness,
                                                                10                                     Fed. R. Evid. 901, and there is no witness with the
                                                                                                       personal knowledge necessary to testify about the
                                                                11                                     content of these pages. Fed. R. Evid. 602.
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                                                                12
                                                                                                       Further, this exhibit was not disclosed under the
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                                                                13                                     Court’s December 4, 2020 Order requiring
                                                                                                       Plaintiffs to disclose and exchange exhibits. (Doc.
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                                                                14                                     35). In addition, Plaintiffs did not include this
                                   L.L.P.




                                                                15                                     individual in their witness disclosure.

                                                                16         Keshel Expert attachment    Objection. Document contains unqualified expert
                                                                     9-                                opinions purporting show a statistical analysis of
                                                                17   A&B
                                                                                                       voting patterns in Arizona, unsupported by any
                                                                18                                     expert disclosure or report. Fed. R. Evid. 702.
                                                                                                       Document cannot be authenticated by any
                                                                19                                     disclosed witness, Fed. R. Evid. 901, and there is
                                                                20                                     no witness with the personal knowledge necessary
                                                                                                       to testify about the content of these pages. Fed. R.
                                                                21                                     Evid. 602.
                                                                22
                                                                                                     Further, this exhibit was not disclosed under the
                                                                23                                   Court’s December 4, 2020 Order requiring
                                                                                                     Plaintiffs to disclose and exchange exhibits. (Doc.
                                                                24                                   35).
                                                                25   10.   Andrew W. Appel, et al,   Objection. Document contains hearsay not subject
                                                                           “Ballot Marketing Devices to any exceptions. Fed. R. Evid. 802. Document is
                                                                26         (BMDs) Cannot Assure the
                                                                           Will of the Voters”       irrelevant to the claims in this case. Fed. R. Evid.
                                                                                                     401. Admission of the document would be more
                                                                27
                                                                                                     prejudicial than probative. Fed. R. Evid. 403.
                                                                28                                   Document contains unqualified expert opinions

                                                                                                          - 14 -
                                                                 1                                     unsupported by any expert disclosure or report.
                                                                 2                                     Fed. R. Evid. 702. Document cannot be
                                                                                                       authenticated by any disclosed witness, Fed. R.
                                                                 3                                     Evid. 901, and there is no witness with the
                                                                                                       personal knowledge necessary to testify about the
                                                                 4                                     content of these pages. Fed. R. Evid. 602.
                                                                 5
                                                                                                       Further, this exhibit was not disclosed under the
                                                                 6                                     Court’s December 4, 2020 Order requiring
                                                                 7                                     Plaintiffs to disclose and exchange exhibits. (Doc.
                                                                                                       35).
                                                                 8
                                                                     11.   State of Texas Secretary of Objection. Document is irrelevant to the claims in
                                                                 9         State Report of Review 20 this case. Fed. R. Evid. 401.
                                                                           //and 11B
                                                                10
                                                                                                        Further, these exhibits (titled “11A and 11B” in
                                                                11                                     the Complaint) were not disclosed under the
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                                                                12                                     Court’s December 4, 2020 Order requiring
                                                                                                       Plaintiffs to disclose and exchange exhibits. (Doc.
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                                                                13                                     35).
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                                                                14   12.   Spider Affidavit Redacted   Objection. Document is irrelevant to the claims in
                                   L.L.P.




                                                                15                                     this case. Fed. R. Evid. 401. Admission of the
                                                                                                       document would be more prejudicial than
                                                                16                                     probative. Fed. R. Evid. 403. Document contains
                                                                17                                     unqualified expert opinions purporting show a
                                                                                                       statistical analysis of voting patterns in Arizona,
                                                                18                                     unsupported by any expert disclosure or report.
                                                                                                       Fed. R. Evid. 702. Document contains material
                                                                19                                     outside of affiant’s knowledge. Fed. R. Evid. 602.
                                                                20                                     Document cannot be authenticated, Fed. R. Evid.
                                                                                                       901, and there is no witness with the personal
                                                                21                                     knowledge necessary to testify about the content
                                                                                                       of these pages. Fed. R. Evid. 602. The Governor
                                                                22
                                                                                                       further objects to the admission of this document
                                                                23                                     because there are no legitimate grounds for
                                                                                                       redacting the information contained therein. See
                                                                24                                     Fed. R. Evid. 106.
                                                                25   13.   Redacted Declaration        Objection. Document contains hearsay not subject
                                                                           TPM 11 30 20 Redacted       to any exceptions, including but not limited to the
                                                                26                                     alleged documents sent to “TPM” from various
                                                                                                       governmental institutions and the handwritten
                                                                27
                                                                                                       notes contained in the document. Fed. R. Evid.
                                                                28                                     802. Document is irrelevant to the claims in this

                                                                                                          - 15 -
                                                                 1                                       case. Fed. R. Evid. 401. Admission of the
                                                                 2                                       document would be more prejudicial than
                                                                                                         probative. Fed. R. Evid. 403. Document contains
                                                                 3                                       material outside of declarant’s personal
                                                                                                         knowledge. Fed. R. Evid. 602. Document contains
                                                                 4                                       unqualified expert opinions regarding vote
                                                                 5                                       tabulation machines unsupported by any expert
                                                                                                         disclosure or report. Fed. R. Evid. 702. Document
                                                                 6                                       cannot be authenticated, Fed. R. Evid. 901, and
                                                                 7                                       there is no witness with the personal knowledge
                                                                                                         necessary to testify about the content of these
                                                                 8                                       pages. Fed. R. Evid. 602. The Governor further
                                                                                                         objects to the admission of this document because
                                                                 9                                       there are no legitimate grounds for redacting the
                                                                10                                       information contained therein. See Fed. R. Evid.
                                                                                                         106.
                                                                11
                                                                     14.   Declaration of Ronald
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                                                                12                                       Objection. Document is irrelevant to the claims in
                                                                           Watkins 11 26 20              this case. Fed. R. Evid. 401. Admission of the
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                                                                13                                       document would be more prejudicial than
                                                                                                         probative. Fed. R. Evid. 403. Document contains
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                                                                14                                       material outside of declarant’s personal
                                   L.L.P.




                                                                15                                       knowledge. Fed. R. Evid. 602. Document contains
                                                                                                         unqualified expert opinions regarding vote
                                                                16                                       tabulation machines unsupported by any expert
                                                                                                         disclosure or report. Fed. R. Evid. 702. Document
                                                                17
                                                                                                         cannot be authenticated, Fed. R. Evid. 901, and
                                                                18                                       there is no witness with the personal knowledge
                                                                                                         necessary to testify about the content of these
                                                                19                                       pages. Fed. R. Evid. 602. The document purports
                                                                20                                       to be a declaration but is not signed by the
                                                                                                         supposed declarant. See 28 U.S.C § 1746.
                                                                21
                                                                     15.   Congresswoman Maloney         Objection. Document does not have any relevance
                                                                22         letter re Smartmatica         to the administration of the November 3, 2020
                                                                23                                       General Election in Arizona. Fed. R. Evid. 401.
                                                                24                                       Further, this exhibit was not properly disclosed
                                                                25                                       under the Court’s December 4, 2020 Order
                                                                                                         requiring Plaintiffs to disclose and exchange
                                                                26                                       exhibits. (Doc. 35).
                                                                27   16.   Senators Warren etc. letter   Objection. Documents do not have any relevance
                                                                28         re Dominion Voting            to the administration of the November 3, 2020

                                                                                                           - 16 -
                                                                 1         Systems                     General Election in Arizona. Fed. R. Evid. 401.
                                                                 2                                     The Governor further objects to the admission of
                                                                                                       these document because there are no legitimate
                                                                 3                                     grounds for redacting the information contained
                                                                                                       therein. See Fed. R. Evid. 106.
                                                                 4
                                                                 5                                     Further, this exhibit was not properly disclosed
                                                                                                       under the Court’s December 4, 2020 Order
                                                                 6                                     requiring Plaintiffs to disclose and exchange
                                                                 7                                     exhibits. (Doc. 35).

                                                                 8   17.   Ramsland Declaration        Objection. Document contains unqualified expert
                                                                                                       opinions purporting show a statistical analysis of
                                                                 9                                     voting patterns in Arizona, unsupported by any
                                                                10                                     expert disclosure or report. Fed. R. Evid. 702.
                                                                                                       Document contains material outside of declarant’s
                                                                11                                     knowledge. Fed. R. Evid. 602.
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                                                                12   18.   Joint FBI CISSA Cyber       Objection. Document does not have any relevance
                                                                           Security Advisory Exhibit
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                                                                                                       to the administration of the November 3, 2020
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                                                                13
                                                                                                       General Election in Arizona. Fed. R. Evid. 401.
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                                                                15                                     Further, this exhibit was not disclosed under the
                                                                                                       Court’s December 4, 2020 Order requiring
                                                                16                                     Plaintiffs to disclose and exchange exhibits. (Doc.
                                                                                                       35).
                                                                17
                                                                18   19.   MCB Redacted Fraud          Objection. Document contains unqualified expert
                                                                           Declaration                 opinions purporting show a statistical analysis of
                                                                19                                     voting patterns in Arizona, unsupported by any
                                                                20                                     expert disclosure or report. Fed. R. Evid. 702.
                                                                                                       Document contains material outside of declarant’s
                                                                21                                     personal knowledge. Fed. R. Evid. 602. The
                                                                                                       Governor further objects to the admission of these
                                                                22                                     document because there are no legitimate grounds
                                                                23                                     for redacting the information contained therein.
                                                                                                       See Fed. R. Evid. 106.
                                                                24
                                                                     20.   Mark Low Declaration        Objection. Document contains hearsay not subject
                                                                25
                                                                                                       to any exceptions. Fed. R. Evid. 802.
                                                                26   21.   Burns Declaration           Objection. Document contains hearsay not subject
                                                                                                       to any exceptions. Fed. R. Evid. 802.
                                                                27
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                                                                 1   22.     Greg Wodynski             Objection. Document contains hearsay not subject
                                                                 2                                     to any exceptions. Fed. R. Evid. 802.

                                                                 3   23.     Linda Brickman            Objection. Document contains hearsay not subject
                                                                             Declaration               to any exceptions. Fed. R. Evid. 802.
                                                                 4
                                                                 5
                                                                 6         DATED this 7th day of December, 2020.
                                                                 7
                                                                 8                                                 SNELL & WILMER L.L.P.

                                                                 9
                                                                                                               By: /s/ Brett W. Johnson
                                                                10                                                Brett W. Johnson
                                                                                                                  Colin P. Ahler
                                                                11                                                Derek C. Flint
                                                                                                                  Ian R. Joyce
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                                                                12                                                One Arizona Center
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                                                                                                                   Anni L. Foster
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                                                                14
                                                                                                                   OFFICE OF ARIZONA GOVERNOR
                                   L.L.P.




                                                                15                                                 DOUGLAS A. DUCEY
                                                                                                                   1700 West Washington Street
                                                                16                                                 Phoenix, Arizona 85007

                                                                17                                                 Attorneys for Defendant Douglas A.
                                                                                                                   Ducey, Governor of the State of
                                                                18                                                 Arizona
                                                                19
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                                                                 1                                   CERTIFICATE OF SERVICE
                                                                 2          I certify that on December 7, 2020, I electronically transmitted the attached
                                                                 3   document to the Clerk's Office using the CM/ECF System for filing and transmittal of a
                                                                 4   Notice of Electronic Filing to the ECF registrants.
                                                                 5
                                                                 6
                                                                 7   s/ Tracy Hobbs
                                                                 8
                                                                 9
                                                                10
                                                                11
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